           IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

UNITED STATES OF AMERICA            )   DOCKET NO. 1:23-CR-14
                                    )
      v.                            )   NOTICE PURSUANT TO RULES
                                    )   902(11) AND 902(13) OF THE
THOMAS DEWEY TAYLOR, JR             )   FEDERAL RULES OF EVIDENCE

      The Government hereby provides notice of its intent to offer at trial

certain self-authenticating exhibits as contemplated under Rules 902(11) and

902(13). Specifically, the Government may offer evidence from the following

business pursuant to a business record affidavit:

      •     Records of Netspend

      The records, and an accompanying certificate of authenticity of business

records from Netspend, were provided to Defendant in discovery with Bates

stamp USA-00001570 through USA-00001577.

      Respectfully submitted this 27th day of July 2023.

                                    DENA J. KING
                                    United States Attorney


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     Case 1:23-cr-00014-MR-WCM Document 19 Filed 07/27/23 Page 1 of 1
